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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                             MDL 2804

                                              Case No. 17-d-2804
This document relates to:
                                              Hon. Dan Aaron Polster
Track One Cases




                            WALGREENS’ MOTIONS IN LIMINE
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         Walgreen Co. and Walgreen Eastern Co. (“Walgreens”) hereby submit the following

three motions in limine.1

I.       Motion No. W-1: To preclude evidence or argument about Walgreens’ ownership
         interest in AmerisourceBergen
         Walgreens moves in limine to preclude plaintiffs from offering evidence or argument

about Walgreens’ equity ownership interest in AmerisourceBergen (ABDC).

         Plaintiffs bring claims against Walgreens based solely on allegedly improper distribution

of prescription opioid medications. Walgreens has not distributed prescription opioid

medications into the Track One counties since 2014. More recently, Walgreens has relied on

ABDC as its distributor for controlled substances.

         In summary judgment briefing, plaintiffs argued for the first time that Walgreens’

“malfeasance” continued beyond 2014 through a “partnership” with ABDC because Walgreens

owns “more than 26%” of ABDC’s stock and is considered “a related party” under SEC rules.

Dkt. No. 2190/2205 at 12-13. Walgreens anticipates that plaintiffs will suggest at trial that

Walgreens exerts control or influence over ABDC, and is therefore responsible for ABDC’s

distribution conduct, by virtue of that ownership interest. Any such suggestion would not be

merely misleading; it would be demonstrably false. It would also be unduly prejudicial and

confusing to the jury, and would necessarily lead to a time-consuming side show on collateral

issues. The Court should exclude it under Rules 402 and 403.




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 To distinguish its motions from those filed by other defendants, Walgreens has numbered its
motions W-1, W-2, and W-3. Walgreens also joins the following MILs submitted by the
distributor defendants: D-2, D-3, D-4, D-5, D-6, and D-8.

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        First, evidence of ownership is irrelevant and misleading because under the terms of the

agreements pursuant to which Walgreens acquired its interest in ABDC, Walgreens is prohibited

from exercising any control over ABDC. The Framework Agreement executed between

Walgreens and ABDC expressly states that ABDC is not an “affiliate” of Walgreens—defined as

a “person . . . that directly or indirectly . . . Controls, is Controlled by, or is under common

Control with” another person. Exhibit A at 33. Control is defined as “the possession, directly or

indirectly, of the power to direct or cause the direction of the management and policies of a

person, whether through the ownership of securities, by contract, management control, or

otherwise.” Id. at 34. Likewise, the AmerisourceBergen Shareholders Agreement, which

resulted in Walgreens acquiring an equity stake in ABDC, contains strict Standstill Provisions

that provide that Walgreens “shall not, directly or indirectly, . . . act, alone or in concert with

others, to seek to Control or influence the management or the policies of the Company (for the

avoidance of doubt, excluding any such act to the extent in its capacity as a commercial

counterparty, customer, supplier, industry participant or the like).” Exhibit B at 12-14.

        Second, evidence of ownership is irrelevant because the only claims against Walgreens

are based on Walgreens’ role as a distributor and not in any other capacity. In ruling on

defendants’ motions to dismiss, this Court noted that “Plaintiffs have disclaimed any cause of

action against Retail Pharmacies in their capacity as retailers or dispensers of opioids” and held

that “the Retail Pharmacies may only be held liable as distributors.” Dkt. No. 1203 at 2. Since

Walgreens transitioned distribution of controlled substances to ABDC as its third-party vendor,

any alleged “malfeasance” arising out of Walgreens’ equity ownership in ABDC would go solely

to distribution claims against ABDC and cannot possibly give rise to any claim against

Walgreens. The Court should preclude any effort by Plaintiffs to confuse the jury on this issue.

See Sanco, Inc. v. Ford Motor Co., 771 F.2d 1081, 1087 (7th Cir. 1985) (affirming exclusion of

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evidence that only supported a theory plaintiffs did not assert at trial); Mendelsohn v.

Sprint/United Mgmt. Co., 587 F. Supp. 2d 1201, 1217 (D. Kan. 2008), aff’d, 402 F. App’x 337

(10th Cir. 2010) (admissibility requires showing that evidence relates “to the plaintiff's

circumstances and theory of the case”).

       Third, allowing plaintiffs to offer evidence and argument about Walgreens’ ownership

interest in ABDC would be unfairly prejudicial to Walgreens and will lead to jury confusion by

suggesting that Walgreens somehow bears (or shares) responsibility for the distribution conduct

of another defendant. This would warrant exclusion even if Walgreens did control ABDC. See

U.S. v. Bestfoods, 524 U.S. 51, 61 (1998) (“It is a general principle of corporate law deeply

‘ingrained in our economic and legal systems’ that a parent corporation (so-called because of

control through ownership of another corporation’s stock) is not liable for the acts of its

subsidiaries.”). The risk of prejudice and confusion is far greater where Walgreens’ ownership

does not involve any control.

       Finally, if such evidence and argument is not excluded, Walgreens will be forced to rebut

any inference of control or influence by presenting evidence and testimony about the Framework

Agreement, Shareholders Agreement, and Standstill Provisions. Such a distraction from the

actual issues in these cases would be a manifest waste of the jury’s limited time to consider and

absorb an enormous evidentiary record in a matter of virtually unprecedented complexity. In

addition, the Court has allotted defendants only 100 hours—just 12.5 hours to each of the

remaining eight defendant families—for their entire defense, Dkt. No. 2594 at 1-2, leaving no

time to waste on collateral issues like ABDC’s corporate governance measures with respect to

Walgreens’ equity interest.

       For all of these reasons, the Court should exclude any reference to Walgreens’ equity

ownership interest in ABDC.

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II.      Motion No. W-2: To preclude evidence or argument about Walgreens’ Florida DEA
         enforcement action and related settlement
         Walgreens moves in limine to preclude plaintiffs from offering evidence or argument

about a DEA enforcement action and administrative settlement agreement involving a single

Walgreens distribution center in Florida that last shipped controlled substances to Ohio in 2007.

Walgreens also moves to exclude reference to the $80 million Walgreens paid to the DEA to

settle the DEA’s allegations while litigation was pending and before any adjudication of the

allegations by a court or other factfinder.

         Plaintiffs allege that Walgreens improperly distributed prescription opioid medication to

its retail pharmacy stores in Cuyahoga and Summit Counties and thereby contributed to an

oversupply of opioids that caused them harm. Given their near-exclusive reliance in their

complaint and summary judgment papers on allegations specific to Florida, it is apparent that

plaintiffs intend to argue that the unproven (and disputed) allegations in an Order to Show

Cause/Immediate Suspension Order issued to a Walgreens distribution center in Jupiter, Florida

(“Florida OTSC”) somehow show that Walgreens improperly distributed prescription opioid

medications in Ohio.2 Walgreens further anticipates that plaintiffs will suggest—and the jury

may infer—that Walgreens’ settlement of DEA’s allegations is an admission of fault. Any such

evidence or argument would be irrelevant and improper. Allowing plaintiffs to inject it into the

trial would be unfairly prejudicial to Walgreens and confusing to the jury. It will lead to a




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 Walgreens also moves to exclude evidence or argument about (1) Orders to Show Cause issued
by DEA to six Walgreens pharmacies in Florida for alleged dispensing violations and (2) a 2011
settlement agreement involving alleged dispensing violations at a Walgreens pharmacy in
California. In addition to the other arguments set forth in this motion, plaintiffs do not assert any
dispensing claims against Walgreens in Track One, further eliminating any relevance and
dramatically increasing the risk of unfair prejudice and confusion.

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lengthy trial-within-a-trial about issues that have nothing to do with plaintiffs’ Ohio distribution

claims. The Court should exclude it under Rules 402, 403, and 408.

         First, this is exactly the kind of evidence that courts routinely reject under Rules 408 and

403. Rule 408 directly “bars the admission of settlement agreements when offered ‘to prove or

disprove the validity . . . of a disputed claim.’” United States v. Tevis, 593 F. App’x 473, 476

(6th Cir. 2014) (quoting Fed. R. Evid. 408). Under Rule 408, evidence of both the existence and

content of prior settlement agreements is inadmissible to prove liability on a later civil claim. In

Hobart Corp. v. Dayton Power & Light Co., the court rejected plaintiffs’ attempt to establish that

the defendant had assumed certain liabilities because its corporate predecessor had made

“admission[s]” in a settlement agreement resolving a separate case involving a different site.

2017 WL 5956911, *19-20 (S.D. Ohio Nov. 29, 2017). Because plaintiffs were “attempting to

use evidence of a prior settlement agreement to establish . . . liability and prove the validity of a

disputed . . . claim,” the evidence was “inadmissible under Rule 408.” Id. at *21. As the court

explained, “making the content of prior settlement agreements available for use in related

litigation contravenes the very purpose of Rule 408.” Id.3

         Evidence about settlement agreements is likewise inadmissible under Rule 403 as unduly

prejudicial. As the Sixth Circuit has recognized, “the potential impact of evidence regarding a

settlement agreement with regard to a determination of liability is profound.” Stockman v.

Oakcrest Dental Ctr., P.C., 480 F.3d 791, 800 (6th Cir. 2007). The same is true here. Were

evidence of Walgreens’ settlement with DEA admitted, the jury would likely conclude that


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  Rule 408’s clear bar on settlement evidence also serves to prevent the introduction of irrelevant
evidence under Rule 402, since “disputes are often settled for reasons having nothing to do with
the merits of a claim.” Korn, Womack, Stern & Assocs., Inc. v. Fireman's Fund Ins. Co., 27 F.3d
566, 1994 WL 264263, at *6 (6th Cir. 1994); see also Bridgeport Music, Inc. v. Justin Combs
Pub., 507 F.3d 470, 480 (6th Cir. 2007) (“[A] settlement offer or the fact of settlement
negotiations is not direct evidence regarding the factual issues in a case.”).

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Walgreens must have acted improperly if it paid a significant sum of money to resolve DEA’s

allegations, without ever determining whether plaintiffs have proved their actual claims in this

case. No limiting instruction is sufficient to cure the resulting prejudice. Id. at 805 (rejecting the

proposition “that any amount of evidence supporting liability, . . . coupled with a limiting

instruction . . . is sufficient to cure the wrongful admission” of settlement evidence).

       The Florida OTSC is similarly inadmissible. The document contains preliminary

unproven allegations and improper legal conclusions, about a single distribution center in

Florida, that were never tested in adversarial proceedings before an administrative law judge.

These very same characteristics have led courts to reject the suggestion that government

“investigation[s]” or “sanctions” against one member of a corporate family are “indicative of

[wrongdoing] on a company-wide scale,” Loos v. Immersion Corp., 762 F.3d 880, 889 (9th Cir.

2014), and to hold that “an SEC enforcement action” is “not evidence of fraud, or even

negligence or mistake,” Se. Pa. Transp. Auth. v. Orrstown Fin. Servs., Inc., 2016 WL 7117455,

at *11 (M.D. Pa. Dec. 7, 2016). The Florida OTSC “do[es] not prove that any of the conduct

described therein actually occurred or, if it did occur, the conduct was [unlawful].” Chen v.

Mayflower Transit, Inc., 315 F. Supp. 2d 886, 923 (N.D. Ill. 2004). As for the Florida OTSC’s

legal opinions, “questions of law are not a proper subject for evidentiary proof.” Id.; see also

Dkt. No. 2494 (granting in part defendants’ motion to exclude opinions of James Rafalski as

legal conclusions).

       Second, the Florida OTSC and settlement agreement are irrelevant and misleading for a

separate reason: plaintiffs have not established any evidentiary nexus, through expert testimony

or otherwise, between distribution activity in Florida and either of the Track One counties. It is

not disputed that the distribution center in Florida that was the subject of the Florida OTSC did

not distribute any controlled substances to Ohio after January 2007—years before any of the

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events in Florida that led to the Florida OTSC. Unsurprisingly, Plaintiffs and their experts do not

identify a single allegedly “suspicious order” shipped from Florida into either Cuyahoga or

Summit County. Even if they had, Plaintiffs have never identified any even remotely similar

issues involving Walgreens stores in Cuyahoga or Summit County, much less in the relevant

time period. Any hypothetical connection is attenuated beyond the point of speculation.

       Whether the policies and procedures at the distribution center in Florida were the same as

at other Walgreens distribution centers does not change the analysis. Plaintiffs will have to

prove at trial what the systems were at the relevant distribution centers that shipped prescription

opioid medications to Walgreens pharmacies in Track One during the relevant time period. They

will also have to demonstrate that the systems at the relevant distribution centers did not comply

with the law. The DEA’s disputed opinions about whether the systems at a Florida distribution

center violated the law—at a time when that distribution center was not shipping to the Track

One counties—are neither relevant nor proper. See Chen, 315 F. Supp. 2d at 923.

       Finally, if the Court were to permit evidence and argument regarding the Florida OTSC

and subsequent settlement, Walgreens would be forced to introduce the evidence necessary to

rebut the DEA’s allegations, requiring a whole trial in itself. In fact, prior to settlement, the

allegations in the Florida OTSC were set to be tried for 18 days in a hearing before an

administrative law judge in agency proceedings with hundreds of exhibits and dozens of fact and

expert witnesses specific to the circumstances in Florida. See Exhibit C (Notice of Hearing in

DEA ALJ Proceedings); see also Exhibit D (Government Prehearing Statement); Exhibit E

(Walgreens Prehearing Statement). To litigate these factual disputes now, years later, would be a

massive distraction and misuse of the jury’s time. Moreover, with eight defendants remaining in

the Track One trial, and only 100 hours for all defendants to put on their defense, Dkt. No. 2594

at 1-2, there is simply no time for evidence related to collateral issues in other states.

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         The Court should exclude all evidence and argument relating to DEA’s OTSC and

Walgreens’ subsequent settlement agreement.

III.     Motion No. W-3: To preclude, e.g., evidence or argument referring to DEA witness
         Joseph Rannazzisi as the “60 Minute Man”
         Walgreens moves in limine to preclude evidence or argument suggesting that former

DEA Deputy Administrator Joseph Rannazzisi’s credibility or character is bolstered by the fact

of his appearance on 60 Minutes, in articles published by the Washington Post, or in reporting by

any other news organization. At deposition, plaintiffs’ counsel repeatedly referred to Mr.

Rannazzisi as the “60 Minute Man,” going so far as to create a hand-drawn demonstrative

“Roadmap” that started on “60 Minute Man Road,” and continued from there to focus

extensively on Mr. Rannazzisi’s appearance on the television news program, as well as his

interviews in the Washington Post. E.g., Exhibit F, Rannazzisi Dep. 376:19-377:9; 396:11-

399:6.

         Walgreens anticipates that plaintiffs may seek to paint Mr. Rannazzisi as an honest

whistleblower by virtue of these news appearances, including in opening statement. Such

references would trade on the credibility of respected news organizations—and those

organizations’ purported commitment to finding and reporting the truth—to suggest that Mr.

Rannazzisi is also credible by virtue of the fact that these organizations reported what he said.

(By the same token, the fact that 60 Minutes or any news article criticized a company or

individual should not be used to impeach that person.) That improperly invades the jury’s role as

factfinder to weigh the strength of the evidence. It also threatens to mislead and confuse the jury

in a way that is prejudicial to Walgreens and other defendants. Any such evidence or argument

should be excluded under Rule 403.




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Dated:   September 25, 2019
                                          Respectfully Submitted,

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                               CERTIFICATE OF SERVICE
       I hereby certify that on this 25th day of September, 2019, the foregoing has been served

via CM/ECF to all counsel of record.

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